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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE erp ey

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In re: )} Chapter 11
)

Nortel Networks Inc., et ai.,' ) Case No. 09-10138 (KG)
)

Debtors. ) Jointly Administrated
)
)
)
CERTIFICATE OF SERVICE

PLEASE TAKE NOTICE that on September 12", 2012 a copy of my individual “Fact
Discovery” requests were served upon the following parties, in manner indicated.

BY OVERNIGHT MAIL WITH DELIVERY CONFIRMATION

ATTN: David D. Bird, Clerk of Court ATTN: Robert J. Ryan

United States Bankruptcy Court Cleary, Gottlieb, Steen & Hamilton, LLP
District of Delaware One Liberty Piaza

824 North Market Street, 3rd Floor New York, NY 10006

Wilmington, Delaware 19801

ATTN: HR Shared Services, c/o Nortel Networks Prudential Disability Mgmt Services
Mailstop: 570 02 0C3 2101 Welsh Road

PO Box 13010 Dresher, PA 19176

Research Triangle Park, NC 27709-3010

BY ELECTRONIC TRANSMISSION VIA EMAIL
ATTN: Rafael X. Zahralddin-Aravena, Esq., Elliott Greenleaf, rxza@elliottgreenleaf.com
ATTN: Barbara Gallagher, Chairperson, LTD 1102 Committee, ballyglas@pobox.com

CAA bk Qn

Robert Dale Dover, Nortel US LTD Employee
2509 Quail Ridge Rd, Melissa, TX 75454

' The Debtors, along with the last four digits of each Debtors’ federal tax identification number, are: Nortel

Networks Inc (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc. (9769), Nortel
Altsystems international Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation (0251),
CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation
(3826), Nortel Networks International Inc (0358), Northern Telecom International Inc (6286), Nortel Networks
Cable Solutions Inc. (0657) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found
in the Debtors’ petitions, which are available at http-//chapteri iepiqsystems.com/nortel.
